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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, INC.,                       Case No. 2:17-CV-068-JRG-RSP

        Plaintiff,                                 Lead Case

        v.                                         JURY TRIAL DEMANDED

 ZTE (USA) INC.,

        Defendant.



                     JOINT MOTION TO STAY ALL DEADLINES AND
                             NOTICE OF SETTLEMENT

       Plaintiff Display Technologies, LLC and Defendant ZTE (USA) Inc. hereby notify the

Court that all matters in controversy in the consolidated action between these two parties, and only

these two parties, have been settled in principal. The parties request a stay of 30 days to complete

the drafting and execution of a settlement agreement and to submit appropriate dismissal papers.

       A proposed order granting this Joint Motion is submitted herewith.




Dated: September 5, 2017                      Respectfully submitted,

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                               CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service

  are being notified of the filing of this document via the Court’s CM/ECF system per Local

  Rule CV- 5(a)(3) on this 5th day of September, 2017.


                                                    /s/ Eric H. Findlay
                                                    Eric H. Findlay




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